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1    VINCENT J. BELUSKO (CA SBN 100282)
     VBelusko@mofo.com
2    HECTOR G. GALLEGOS (CA SBN 175137)
     HGallegos@mofo.com
3    JONATHAN M. SMITH (CA SBN 292285)
     JonathanSmith@mofo.com
4    MORRISON & FOERSTER LLP
     707 Wilshire Boulevard
5    Los Angeles, California 90017-3543
     Telephone: 213.892.5200
6    Facsimile: 213.892.5454
7    JACK W. LONDEN (CA SBN 85776)
     JLonden@mofo.com
8    DIANA B. KRUZE (CA SBN 247605)
     DKruze@mofo.com
9    SHAELYN DAWSON (CA SBN 288278)
     Shaelyndawson@mofo.com
10   MORRISON & FOERSTER LLP
     425 Market Street
11   San Francisco, California 94105-2482
     Telephone: 415.268.7000
12   Facsimile: 415.268.7522
13   Attorneys for Defendants
     NIKON CORPORATION and NIKON
14   INC.
15
16
17                  IN THE UNITED STATES DISTRICT COURT
18                FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                             WESTERN DIVISION
20
21 CARL ZEISS AG and ASML               Case No. 2:17-cv-07083- RGK (MRWx)
   NETHERLANDS B.V.,
22
                                        DEFENDANTS NIKON
23         Plaintiffs,
                                        CORPORATION AND NIKON INC.’S
   v.
24                                      PROPOSED SPECIAL VERDICT
                                        FORM
25 NIKON CORPORATION and NIKON
   INC.,
26                                      Hon. R. Gary Klausner
           Defendants.
                                        Hon. Michael R. Wilner
27
28
                         DEFENDANTS’ PROPOSED SPECIAL VERDICT FORM
                                       Case No. 2:17-cv-07083-RGK (MRWx)
     la-1399092
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1                                      VERDICT FORM
2          When answering the following questions and filling out this Verdict Form,
3    please follow the directions provided throughout the form. Your answer to each
4    question must be unanimous. Some of the questions contain legal terms that are
5    defined and explained in detail in the Jury Instructions. Please refer to the Jury
6    Instructions if you are unsure about the meaning or usage of any legal term that
7    appears in the questions below.
8          We, the jury, unanimously agree to the answers to the following questions and
9    return them under the instructions of this Court as our verdict in this case.
10
11                                       OWNERSHIP
12         1.     Did Plaintiffs Carl Zeiss AG and ASML Netherlands B.V. (collectively
13   “Plaintiffs”) prove, by a preponderance of the evidence, that they own the ʼ163
14   patent?
15
16                YES _____      NO _____
17
18         2.     Did Plaintiffs prove, by a preponderance of the evidence, that they own
19   the ʼ335 patent?
20
21                YES _____      NO _____
22
23         3.     Did Plaintiffs prove, by a preponderance of the evidence, that they own
24   the ʼ312 patent?
25
26                YES _____      NO _____
27
28         4.     Did Plaintiffs prove, by a preponderance of the evidence, that they own
     the ʼ017 patent?
                                                 1
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1
2                YES _____      NO _____
3
4          5.    Did Plaintiffs prove, by a preponderance of the evidence, that they own
5    the ʼ574 patent?
6
7                YES _____      NO _____
8
9                                  PRELIMINARY FINDINGS
10         1.    Did Nikon Corporation make, use, offer to sell, or sell any accused
11   products in the United States, or import any accused products into the United States?
12
13
                 YES_____      NO_____
14
15
16         2.    Did Nikon Inc. make, use, offer to sell, or sell any accused products in
17   the United States, or import any accused products into the United States?
18
19
                 YES_____      NO_____
20
21
22                           FINDINGS ON INFRINGEMENT
23   I.    U.S. PATENT NO. 6,463,163 (“THE ’163 PATENT”)
24               If you answered “No” to Question 1 in the “OWNERSHIP” section,
25               then skip to Section II.A regarding U.S. Patent No. 6,731,335 and
                 DO NOT answer any questions in this section.
26
27
28

                                               2
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1          A.     Direct Infringement
2                 1.    Nikon D300
3
           1. Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
4
     D300 digital camera directly infringed, either literally or under the doctrine of
5
     equivalents, any of the following claims of the ʼ163 patent?
6
7          “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
8          Please check the boxes that reflect your verdict.
9        Claim             Literal Infringement                Infringement Under Doctrine
                                                                      of Equivalents
10
                          YES                  NO                   YES            NO
11     Claim 1
12                        If you find that Claim 1 is NOT infringed,
              you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
13     Claim 2
14     Claim 3
       Claim 4
15     Claim 6
16     Claim 7
       Claim 15
17                       If you find that Claim 15 is NOT infringed,
18                    you must STOP, and not go on to Claims 16 or 19
       Claim 16
19
       Claim 19
20
21
                  2.    Nikon D3100
22
23         2. Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
24   D3100 digital camera directly infringed, either literally or under the doctrine of
25   equivalents, any of the following claims of the ʼ163 patent?
26
27         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
28         Please check the boxes that reflect your verdict.


                                                3
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1        Claim             Literal Infringement                Infringement Under Doctrine
                                                                      of Equivalents
2
                          YES                  NO                   YES            NO
3      Claim 1
4                         If you find that Claim 1 is NOT infringed,
              you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
5      Claim 2
6      Claim 3
       Claim 4
7      Claim 6
8      Claim 7
       Claim 15
9                        If you find that Claim 15 is NOT infringed,
10                    you must STOP, and not go on to Claims 16 or 19
       Claim 16
11
       Claim 19
12
13
                  3.    Nikon D3200
14
           3. Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
15
     D3200 digital camera directly infringed, either literally or under the doctrine of
16
     equivalents, any of the following claims of the ʼ163 patent?
17
18         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
19         Please check the boxes that reflect your verdict.
20
21
22
23
24
25
26
27
28

                                                4
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1        Claim              Literal Infringement              Infringement Under Doctrine
                                                                     of Equivalents
2
                           YES                   NO                YES            NO
3      Claim 1
4                         If you find that Claim 1 is NOT infringed,
              you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
5      Claim 2
6      Claim 3
       Claim 4
7      Claim 6
8      Claim 7
       Claim 15
9                        If you find that Claim 15 is NOT infringed,
10                    you must STOP, and not go on to Claims 16 or 19
       Claim 16
11
       Claim 19
12
13
     NOTE TO COURT: Defendants object to Plaintiffs’ Proposed Verdict Form to the
14
     extent it fails to differentiate between accused products. This will lead to jury
15
     confusion and invite an erroneous verdict that is unsupported by the evidence. With
16
     multiple accused products, it is possible some products infringe while others do not.
17
     The verdict form must reflect this. Otherwise, Plaintiffs could attempt to collect
18
     damages for non-infringing products. Nevertheless, at this time, it is not possible to
19
     know all of the accused products that should be included in the verdict form because
20
     it is uncertain which of the accused products Plaintiffs will actually adduce evidence
21
     for at trial. If Plaintiffs fail to adduce evidence for certain camera models, those
22
     camera models should not appear on the verdict form; otherwise, it would invite an
23
     erroneous verdict unsupported by the evidence. Thus, for now, Defendants include
24
     only three charts directed to specific camera models accused of infringing the ’163
25
     Patent as examples only, and propose that this portion of the verdict form be finalized
26
     to include similar questions and charts for only the accused products for which
27
     Plaintiffs introduce evidence at trial once Plaintiffs have rested their case-in-chief.
28

                                                 5
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1            B.    Induced Infringement
2                  If you did NOT answer “YES” to any of Questions 1–31 in
3                  Subsection I.A. of the “FINDINGS ON INFRINGEMENT” section,
                   then you must STOP, skip to Subsection II.A regarding U.S. Patent
4                  No. 6,731,335, and DO NOT answer any questions in this section.
5
                   1.     Nikon Corporation
6
             1.    Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
7
     Corporation specifically intended anyone to infringe the ’163 patent?
8
9
             “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
10
             Please check the box that reflects your verdict.
11
12
                   _______YES          _______NO
13
14
             2.     Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
15
     Corporation induced infringement of any of the following claims of the ’163 patent?
16
17
             “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
18
             Please check the boxes that reflect your verdict.
19
20
21
22
23
24
25
26
27   1
         These question numbers will change depending on which accused cameras Plaintiffs
28        support with evidence at trial.


                                                  6
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1          Claim                            Induced Infringement
2                                     YES                             NO
       Claim 1
3                      If you find that Claim 1 is NOT infringed,
4          you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 6
7      Claim 7
8      Claim 15
                      If you find that Claim 15 is NOT infringed,
9                  you must STOP, and not go on to Claims 16 or 19
10     Claim 16
       Claim 19
11
12
                   2.    Nikon Inc.
13
           3.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
14
     Inc. specifically intended anyone to infringe the ’163 patent?
15
16
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
17
           Please check the box that reflects your verdict.
18
19
                   _______YES         _______NO
20
21
           4.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
22
     Inc. induced infringement of any of the following claims of the ’163 patent?
23
24
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
25
           Please check the boxes that reflect your verdict.
26
27
28

                                                7
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1          Claim                           Induced Infringement
2                                    YES                             NO
       Claim 1
3                      If you find that Claim 1 is NOT infringed,
4          you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 6
7      Claim 7
8      Claim 15
                      If you find that Claim 15 is NOT infringed,
9                  you must STOP, and not go on to Claims 16 or 19
10     Claim 16
       Claim 19
11
12
           C.      Contributory Infringement
13
                   1.    Nikon Corporation
14
           5.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
15
     Corporation had knowledge that any part of its cameras was especially made or
16
     especially adapted for use in an infringement of the ’163 patent?
17
18
                “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
19
           Please check the box that reflects your verdict.
20
21
                   _______YES         _______NO
22
23
           6. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
24
     Corporation contributed to infringement of any of the following claims of the ’163
25
     patent?
26
27
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
28
           Please check the boxes that reflect your verdict.
                                                8
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1          Claim                        Contributory Infringement
2                                     YES                        NO
       Claim 1
3                      If you find that Claim 1 is NOT infringed,
4          you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 6
7      Claim 7
8      Claim 15
                      If you find that Claim 15 is NOT infringed,
9                  you must STOP, and not go on to Claims 16 or 19
10     Claim 16
       Claim 19
11
12
                   2.    Nikon Inc.
13
           7.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
14
     Inc. had knowledge that any part of its cameras was especially made or especially
15
     adapted for use in an infringement of the ’163 patent?
16
17
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
18
           Please check the box that reflects your verdict.
19
20
                   _______YES         _______NO
21
22
           8. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
23
     contributed to infringement of any of the following claims of the ’163 patent?
24
25
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
26
           Please check the boxes that reflect your verdict.
27
28

                                                9
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1           Claim                      Contributory Infringement
2                                    YES                        NO
       Claim 1
3                      If you find that Claim 1 is NOT infringed,
4          you must STOP, skip to Claim 15, and not go on to Claims 2–4, 6–7.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 6
7      Claim 7
8      Claim 15
                      If you find that Claim 15 is NOT infringed,
9                  you must STOP, and not go on to Claims 16 or 19
10     Claim 16
       Claim 19
11
12
                    3.   Substantial Non-Infringing Uses
13
            9. Do any of the following accused cameras have a substantial non-infringing
14
     use?
15
16
            “YES” is a finding for Defendants. “NO” is a finding for Plaintiffs.
17
            Please check the boxes that reflect your verdict.
18
19
            Model                     Substantial Non-Infringing Use
20                                   YES                          NO
21     Nikon D300
       Nikon D3100
22
       Nikon D3200
23
24   NOTE TO COURT: Defendants object to Plaintiffs’ Proposed Verdict Form to the
25   extent it fails to differentiate between accused products. This will lead to jury
26   confusion and invite an erroneous verdict that is unsupported by the evidence. With
27   multiple accused products, it is possible some products infringe while others do not.
28   The verdict form must reflect this. Otherwise, Plaintiffs could attempt to collect
     damages for non-infringing products. Nevertheless, at this time, it is not possible to
                                            10
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1    know all of the accused products that should be included in the verdict form because
2    it is uncertain which of the accused products Plaintiffs will actually adduce evidence
3    for at trial. If Plaintiffs fail to adduce evidence for certain camera models, those
4    camera models should not appear on the verdict form; otherwise, it would invite an
5    erroneous verdict unsupported by the evidence. Thus, for now, Defendants include in
6    the chart above only three specific camera models accused of infringing the ’163
7    Patent as examples only, and propose that this portion of the verdict form be finalized
8    to include only the accused products for which Plaintiffs introduce evidence at trial
9    once Plaintiffs have rested their case-in-chief.
10
11   II.   U.S. PATENT NO. 6,731,335 (“THE ’335 PATENT”)
12                If you answered “No” to Question 2 in the “OWNERSHIP” section,
13                then skip to Section III.A regarding U.S. Patent No. 8,149,312 and
                  DO NOT answer any questions in this section.
14
15         A.     Direct Infringement
16                1.     Nikon D4
17         1.     Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
18   D4 digital camera directly infringed under the doctrine of equivalents any of the
19   following claims of the ʼ335 patent?
20
21         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
22         Please check the boxes that reflect your verdict.
23
24
25
26
27
28

                                                11
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1          Claim          Direct Infringement Under the Doctrine of Equivalents
2                                   YES                          NO
       Claim 1
3                         If you find that Claim 1 is NOT infringed,
4                       you must STOP, and not go on to Claims 2–12.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 5
7      Claim 6
8      Claim 7
       Claim 8
9      Claim 9
10     Claim 10
       Claim 11
11
       Claim 12
12
13                 2.    Nikon D5
14         2.      Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
15   D5 digital camera directly infringed under the doctrine of equivalents any of the
16   following claims of the ʼ335 patent?
17
18         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
19         Please check the boxes that reflect your verdict.
20
21
22
23
24
25
26
27
28

                                               12
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1          Claim          Direct Infringement Under the Doctrine of Equivalents
2                                   YES                          NO
       Claim 1
3                        If you find that Claim 1 is NOT infringed,
4                      you must STOP, and not go on to Claims 2–12.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 5
7      Claim 6
8      Claim 7
       Claim 8
9      Claim 9
10     Claim 10
       Claim 11
11
       Claim 12
12
13   NOTE TO COURT: Defendants object to Plaintiffs’ Proposed Verdict Form to the
14   extent it fails to differentiate between accused products. This will lead to jury
15   confusion and invite an erroneous verdict that is unsupported by the evidence. With
16   multiple accused products, it is possible some products infringe while others do not.
17   The verdict form must reflect this. Otherwise, Plaintiffs could attempt to collect
18   damages for non-infringing products. Nevertheless, at this time, it is not possible to
19   know all of the accused products that should be included in the verdict form because
20   it is uncertain which of the accused products Plaintiffs will actually adduce evidence
21   for at trial. If Plaintiffs fail to adduce evidence for certain camera models, those
22   camera models should not appear on the verdict form; otherwise, it would invite an
23   erroneous verdict unsupported by the evidence. Thus, for now, Defendants include
24   only two charts directed to specific camera models accused of infringing the ’335
25   Patent as examples only, and propose that this portion of the verdict form be finalized
26   to include similar questions and charts for only the accused products for which
27   Plaintiffs introduce evidence at trial once Plaintiffs have rested their case-in-chief.
28

                                                 13
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1            B.    Induced Infringement
2                  If you did NOT answer “YES” to any of Questions 1–22 in
3                  Subsection II.A. of the “FINDINGS ON INFRINGEMENT” section,
                   then you must STOP, and skip to Subsection III.A regarding U.S.
4                  Patent No. 8,149,312.
5
6                  1.     Nikon Corporation
7
             3. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
8
     Corporation specifically intended anyone to infringe any claims of the ’335 patent?
9
10
             “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
11
             Please check the box that reflects your verdict.
12
13
             _______YES         _______NO
14
15
             4. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
16
     Corporation induced infringement of any of the following claims of the ’335 patent?
17
18
             “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
19
             Please check the boxes that reflect your verdict.
20
21
22
23
24
25
26
27   2
         These question numbers will change depending on which accused cameras Plaintiffs
28        support with evidence at trial.


                                                 14
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1          Claim                            Induced Infringement
2                                     YES                            NO
       Claim 1
3                         If you find that Claim 1 is NOT infringed,
4                       you must STOP, and not go on to Claims 2–12.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 5
7      Claim 6
8      Claim 7
       Claim 8
9      Claim 9
10     Claim 10
       Claim 11
11
       Claim 12
12
13
14                 2.    Nikon Inc.
15         5. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
16   specifically intended anyone to infringe any claims of the ’335 patent?
17
18         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
19         Please check the box that reflects your verdict.
20
21         _______YES          _______NO
22
23         6. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
24   induced infringement of any of the following claims of the ’335 patent?
25
26         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
27         Please check the boxes that reflect your verdict.
28

                                               15
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1          Claim                           Induced Infringement
2                                   YES                              NO
       Claim 1
3                         If you find that Claim 1 is NOT infringed,
4                       you must STOP, and not go on to Claims 2–12.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 5
7      Claim 6
8      Claim 7
       Claim 8
9      Claim 9
10     Claim 10
       Claim 11
11
       Claim 12
12
13         C.      Contributory Infringement
14                 1.    Nikon Corporation
15
           7.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
16
     Corporation had knowledge that any part of its cameras was especially made or
17
     especially adapted for use in an infringement of the ’335 patent?
18
19
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
20
           Please check the box that reflects your verdict.
21
22
                   _______YES         _______NO
23
24
           8. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
25
     Corporation contributed to infringement of any of the following claims of the ’335
26
     patent?
27
28
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.

                                               16
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1          Please check the boxes that reflect your verdict.
2          Claim                        Contributory Infringement
3                                     YES                        NO
       Claim 1
4                         If you find that Claim 1 is NOT infringed,
5                       you must STOP, and not go on to Claims 2–12.
       Claim 2
6      Claim 3
7      Claim 4
       Claim 5
8      Claim 6
9      Claim 7
       Claim 8
10     Claim 9
11     Claim 10
       Claim 11
12
       Claim 12
13
14
                   2.    Nikon Inc.
15
           9.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
16
     Inc. had knowledge that any part of its cameras was especially made or especially
17
     adapted for use in an infringement of the ’335 patent?
18
19
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
20
           Please check the box that reflects your verdict.
21
22
                   _______YES         _______NO
23
24
           10. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
25
     contributed to infringement of any of the following claims of the ’335 patent?
26
27
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
28
           Please check the boxes that reflect your verdict.
                                               17
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1           Claim                      Contributory Infringement
2                                    YES                        NO
       Claim 1
3                          If you find that Claim 1 is NOT infringed,
4                        you must STOP, and not go on to Claims 2–12.
       Claim 2
5      Claim 3
6      Claim 4
       Claim 5
7      Claim 6
8      Claim 7
       Claim 8
9      Claim 9
10     Claim 10
       Claim 11
11
       Claim 12
12
13
                    3.    Substantial Non-Infringing Uses
14
            11. Do any of the following accused cameras have a substantial non-infringing
15
     use?
16
17
            “YES” is a finding for Defendants. “NO” is a finding for Plaintiffs.
18
            Please check the boxes that reflect your verdict.
19
            Model                     Substantial Non-Infringing Use
20                                   YES                          NO
21     Nikon D4
       Nikon D5
22
23
     NOTE TO COURT: Defendants object to Plaintiffs’ Proposed Verdict Form to the
24
     extent it fails to differentiate between accused products. This will lead to jury
25
     confusion and invite an erroneous verdict that is unsupported by the evidence. With
26
     multiple accused products, it is possible some products infringe while others do not.
27
     The verdict form must reflect this. Otherwise, Plaintiffs could attempt to collect
28
     damages for non-infringing products. Nevertheless, at this time, it is not possible to

                                                18
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1    know all of the accused products that should be included in the verdict form because
2    it is uncertain which of the accused products Plaintiffs will actually adduce evidence
3    for at trial. If Plaintiffs fail to adduce evidence for certain camera models, those
4    camera models should not appear on the verdict form; otherwise, it would invite an
5    erroneous verdict unsupported by the evidence. Thus, for now, Defendants include in
6    the chart above only two specific camera models accused of infringing the ’335
7    Patent as examples only, and propose that this portion of the verdict form be finalized
8    to include only the accused products for which Plaintiffs introduce evidence at trial
9    once Plaintiffs have rested their case-in-chief.
10
11   III.   U.S. PATENT NO. 8,149,312 (“THE ’312 PATENT”)
12                If you answered “No” to Question 3 in the “OWNERSHIP” section,
13                then skip to Section IV.A regarding U.S. Patent No. 8,625,017 and
                  DO NOT answer any questions in this section.
14
15          A.    Direct Infringement
16          1.    Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
17   D4 digital camera directly infringes any of the following claims of the ʼ312 patent?
18
            “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
19
            Please check the boxes that reflect your verdict.
20
21
22
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1        Claim            Literal Infringement                Infringement Under the
                                                              Doctrine of Equivalents
2
                           YES               NO                 YES             NO
3      Claim 1
4                           If you find that Claim 1 is NOT infringed,
                  you must STOP, skip to Claim 7, and not go on to Claims 2 or 6.
5      Claim 2
6      Claim 6
       Claim 7
7                           If you find that Claim 7 is NOT infringed,
8                       you must STOP, and not go on to Claims 9, 11–14.
       Claim 9
9      Claim 11
10     Claim 12
       Claim 13
11
       Claim 14
12
13         B.      Induced Infringement
14                 If you did NOT answer “YES” to any part of Question 1 in
15                 Subsection III.A. of the “FINDINGS ON INFRINGEMENT”
                   section, then you must STOP, and skip to Subsection IV.A regarding
16                 U.S. Patent No. 8,625,017.
17
                  1.     Nikon Corporation
18
19         2. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon

20   Corporation specifically intended anyone to infringe any claims of the ’312 patent?

21
22         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.

23         Please check the box that reflects your verdict.

24
25                 _______YES        _______NO

26
27         3. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon

28   Corporation induced infringement of any of the following claims of the ’312 patent?


                                               20
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1          “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
2          Please check the boxes that reflect your verdict.
3          Claim                           Induced Infringement
4                                    YES                             NO
       Claim 1
5                      If you find that Claim 1 is NOT infringed,
6            you must STOP, skip to Claim 7, and not go on to Claims 2 or 6.
       Claim 2
7      Claim 6
8      Claim 7
                       If you find that Claim 7 is NOT infringed,
9                 you must STOP, and not go on to Claims 9, 11–14.
10     Claim 9
       Claim 11
11     Claim 12
12     Claim 13
       Claim 14
13
14
                   2.   Nikon Inc.
15
           4. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
16
     specifically intended anyone to infringe any claims of the ’312 patent?
17
18
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
19
           Please check the box that reflects your verdict.
20
21
                   _______YES        _______NO
22
23
           5. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
24
     induced infringement of any of the following claims of the ’312 patent?
25
26
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
27
           Please check the boxes that reflect your verdict.
28

                                               21
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1          Claim                           Induced Infringement
2                                    YES                             NO
       Claim 1
3                      If you find that Claim 1 is NOT infringed,
4            you must STOP, skip to Claim 7, and not go on to Claims 2 or 6.
       Claim 2
5      Claim 6
6      Claim 7
                       If you find that Claim 7 is NOT infringed,
7                 you must STOP, and not go on to Claims 9, 11–14.
8      Claim 9
       Claim 11
9      Claim 12
10     Claim 13
       Claim 14
11
12
     IV.   U.S. PATENT NO. 8,625,017 (“THE ’017 PATENT”)
13
                   If you answered “No” to Question 4 in the “OWNERSHIP” section,
14                 then skip to Section V.A regarding U.S. Patent No. 9,728,574 and
15                 DO NOT answer any questions in this section.
16         A.      Direct Infringement
17
           1.      Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
18
     D4 digital camera directly infringed any of the following claims of the ʼ017 patent?
19
20         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
21         Please check the boxes that reflect your verdict.
22
23
24
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                                               22
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                                 #:20446



1        Claim                Literal Infringement              Infringement Under the
                                                                Doctrine of Equivalents
2
                             YES                 NO               YES            NO
3      Claim 1
4                             If you find that Claim 1 is NOT infringed,
                       you must STOP, skip to Claim 7, and not go on to Claim 2.
5      Claim 2
6      Claim 7
                              If you find that Claim 7 is NOT infringed,
7                      you must STOP, and not go on to Claims 8, 12–13, 15–16.
8      Claim 8
       Claim 12
9      Claim 13
10     Claim 15
       Claim 16
11
12
           B.     Induced Infringement
13
                  If you did NOT answer “YES” to any part of Question 1 in
14                Subsection IV.A. of the “FINDINGS ON INFRINGEMENT”
15                section, then you must STOP, and skip to Subsection V.A regarding
                  U.S. Patent No. 9,728,574.
16
17                1.       Nikon Corporation
18         2. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
19   Corporation specifically intended anyone to infringe any claims of the ’017 patent?
20
21         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
22         Please check the box that reflects your verdict.
23
24                _______YES           _______NO
25
26         3. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
27   Corporation induced infringement of any of the following claims of the ’017 patent?
28
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
                                               23
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1          Please check the boxes that reflect your verdict.
2          Claim                            Induced Infringement
3                                     YES                            NO
       Claim 1
4                        If you find that Claim 1 is NOT infringed,
5                 you must STOP, skip to Claim 7, and not go on to Claim 2.
       Claim 2
6      Claim 7
7                       If you find that Claim 7 is NOT infringed,
                  you must STOP and not go on to Claims 8, 12–13, 15–16.
8      Claim 8
9      Claim 12
       Claim 13
10     Claim 15
11     Claim 16
12
                   2.    Nikon Inc.
13
14         4. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
15   specifically intended anyone to infringe any claims of the ’017 patent?

16
17         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.

18         Please check the box that reflects your verdict.

19
20         _______YES          _______NO

21
22         5. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
23   induced infringement of any of the following claims of the ’017 patent?

24
25         “YES” is a finding for Plaintiffs. “NO” is a finding for Inc.

26         Please check the boxes that reflect your verdict.

27
28

                                               24
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1          Claim                           Induced Infringement
2                                    YES                             NO
       Claim 1
3                        If you find that Claim 1 is NOT infringed,
4                 you must STOP, skip to Claim 7, and not go on to Claim 2.
       Claim 2
5      Claim 7
6                       If you find that Claim 7 is NOT infringed,
                  you must STOP and not go on to Claims 8, 12–13, 15–16.
7      Claim 8
8      Claim 12
       Claim 13
9      Claim 15
10     Claim 16
11
     V.    U.S. PATENT NO. 9,728,574 (“THE ’574 PATENT”)
12
13                 If you answered “No” to Question 5 in the “OWNERSHIP” section,
                   then skip to Section VI regarding Findings on Invalidity and DO
14                 NOT answer any questions in this section.
15
16         A.      Direct Infringement
17
           1.      Did Plaintiffs prove, by a preponderance of the evidence, that the Nikon
18
     D4 digital camera directly infringed any of the following claims of the ʼ574 patent?
19
20         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
21         Please check the boxes that reflect your verdict.
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                                 #:20449



1          Claim              Literal Infringement               Infringement Under the
                                                                 Doctrine of Equivalents
2
                             YES                 NO                YES            NO
3        Claim 1
4                            If you find that Claim 1 is NOT infringed,
                   you must STOP, skip to Claim 9, and not go on to Claims 3–4, 6.
5        Claim 3
6        Claim 4
         Claim 6
7        Claim 9
8                           If you find that Claim 9 is NOT infringed,
                 you must STOP, skip to Claim 17, and not go on to Claims 10–11.
9        Claim 10
10       Claim 11
         Claim 17
11
                           If you find that Claim 17 is NOT infringed,
12               you must STOP, skip to Claim 24, and not go on to Claims 18–20.
         Claim 18
13
         Claim 19
14       Claim 20
15       Claim 24
         Claim 30
16                         If you find that Claim 30 is NOT infringed,
17                         you must STOP, and not go on to Claim 31.
                  3
         Claim 31
18
19            B.    Induced Infringement
20
                    If you did NOT answer “YES” to any part of Question 1 in
21                  Subsection V.A. of the “FINDINGS ON INFRINGEMENT” section,
22                  then you must STOP, and skip to Section VI.A regarding Invalidity
                    of U.S. Patent No. 6,463,163.
23
24
25
     3
26       Defendants contend that Plaintiffs waived the right to assert claims 32 and 33 of the
          ’574 patent by failing to provide infringement contentions for those claims during
27        fact discovery. Accordingly, Defendants have not included any questions
28        regarding claims 32 and 33 of the ’574 patent in this proposed verdict form.


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1                1.     Nikon Corporation
2          2. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
3    Corporation specifically intended anyone to infringe any claims of the ’574 patent?
4
5          “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
6          Please check the box that reflects your verdict.
7
8          _______YES         _______NO
9
10         3. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
11   Corporation induced infringement of any of the following claims of the ’574 patent?
12
13         “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
14         Please check the boxes that reflect your verdict.
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1          Claim                           Induced Infringement
2                                    YES                             NO
       Claim 1
3                       If you find that Claim 1 is NOT infringed,
4            you must STOP, skip to Claim 9, and not go on to Claims 3–4, 6.
       Claim 3
5      Claim 4
6      Claim 6
       Claim 9
7                       If you find that Claim 9 is NOT infringed,
8           you must STOP, skip to Claim 17, and not go on to Claims 10–11.
       Claim 10
9      Claim 11
10     Claim 17
                       If you find that Claim 17 is NOT infringed,
11
            you must STOP, skip to Claim 24, and not go on to Claims 18–20.
12     Claim 18
       Claim 19
13
       Claim 20
14     Claim 24
15     Claim 30
                       If you find that Claim 30 is NOT infringed,
16                     you must STOP, and not go on to Claim 31.
17     Claim 31
18
                   2.   Nikon Inc.
19
20         4. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
     specifically intended anyone to infringe any claims of the ’574 patent?
21
22
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
23
           Please check the box that reflects your verdict.
24
25
           _______YES         _______NO
26
27
28         5. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
     induced infringement of any of the following claims of the ’574 patent?
                                               28
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1
2          “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
3          Please check the boxes that reflect your verdict.
4          Claim                           Induced Infringement
5                                   YES                              NO
       Claim 1
6                       If you find that Claim 1 is NOT infringed,
7            you must STOP, skip to Claim 9, and not go on to Claims 3–4, 6.
       Claim 3
8      Claim 4
9      Claim 6
       Claim 9
10                      If you find that Claim 9 is NOT infringed,
11          you must STOP, skip to Claim 17, and not go on to Claims 10–11.
       Claim 10
12     Claim 11
13     Claim 17
                       If you find that Claim 17 is NOT infringed,
14
            you must STOP, skip to Claim 24, and not go on to Claims 18–20.
15     Claim 18
       Claim 19
16
       Claim 20
17     Claim 24
18     Claim 30
                       If you find that Claim 30 is NOT infringed,
19                     you must STOP, and not go on to Claim 31.
20     Claim 31
21
22
           C.      Contributory Infringement
23
                   1.    Nikon Corporation
24
25         6.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
26   Corporation had knowledge that any part of its cameras was especially made or
27   especially adapted for use in an infringement of the ’574 patent?
28
           “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
                                               29
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1          Please check the box that reflects your verdict.
2
3                _______YES          _______NO
4
5          7. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
6    Corporation contributed to infringement of any of the following claims of the ’574
7    patent?
8
9          “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Corporation.
10         Please check the boxes that reflect your verdict.
11
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1          Claim                        Contributory Infringement
2                                     YES                        NO
       Claim 1
3                       If you find that Claim 1 is NOT infringed,
4            you must STOP, skip to Claim 9, and not go on to Claims 3–4, 6.
       Claim 3
5      Claim 4
6      Claim 6
       Claim 9
7                       If you find that Claim 9 is NOT infringed,
8           you must STOP, skip to Claim 17, and not go on to Claims 10–11.
       Claim 10
9      Claim 11
10     Claim 17
                       If you find that Claim 17 is NOT infringed,
11
            you must STOP, skip to Claim 24, and not go on to Claims 18–20.
12     Claim 18
       Claim 19
13
       Claim 20
14     Claim 24
15     Claim 30
                       If you find that Claim 30 is NOT infringed,
16                     you must STOP, and not go on to Claim 31.
17     Claim 31
18
19                 2.    Nikon Inc.
20         8.      Did Plaintiffs prove, by a preponderance of the evidence, that Nikon
21   Inc. had knowledge that any part of its cameras was especially made or especially
22   adapted for use in an infringement of the ’574 patent?
23
24                 “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
25                 Please check the box that reflects your verdict.
26
27                 _______YES         _______NO
28

                                                31
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1          9. Did Plaintiffs prove, by a preponderance of the evidence, that Nikon Inc.
2    contributed to infringement of any of the following claims of the ’574 patent?
3
4          “YES” is a finding for Plaintiffs. “NO” is a finding for Nikon Inc.
5          Please check the boxes that reflect your verdict.
6
7          Claim                       Contributory Infringement
8                                    YES                        NO
       Claim 1
9                       If you find that Claim 1 is NOT infringed,
10           you must STOP, skip to Claim 9, and not go on to Claims 3–4, 6.
       Claim 3
11     Claim 4
12     Claim 6
       Claim 9
13                      If you find that Claim 9 is NOT infringed,
14          you must STOP, skip to Claim 17, and not go on to Claims 10–11.
       Claim 10
15     Claim 11
16     Claim 17
                       If you find that Claim 17 is NOT infringed,
17
            you must STOP, skip to Claim 24, and not go on to Claims 18–20.
18     Claim 18
       Claim 19
19
       Claim 20
20     Claim 24
21     Claim 30
                       If you find that Claim 30 is NOT infringed,
22                     you must STOP, and not go on to Claim 31.
23     Claim 31
24
25                 3.    Substantial Non-Infringing Uses
26         10. Does the Nikon D4 digital camera have a substantial non-infringing use?
27
28                 “YES” is a finding for Defendants. “NO” is a finding for Plaintiffs.
                   Please check the boxes that reflect your verdict.
                                                32
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1                  _______YES         _______NO
2
3
                          FINDINGS ON INVALIDITY DEFENSES
4
     (The questions regarding invalidity should be answered regardless of your findings
5
     with respect to infringement.)
6
7
     VI.   U.S. PATENT NO. 6,463,163 (“THE ’163 PATENT”)
8
9          A.      Anticipation
10         1.      Did Defendants prove, by clear and convincing evidence, that any of
11   the following claims of the ’163 patent are anticipated?
12
13         Note the following change: “NO” is a finding for Plaintiffs. “YES” is a
14   finding for Defendants.
15         Please check the boxes that reflect your verdict.
16
17         Claim                                Anticipation
18                                    YES                           NO
       Claim 1
19     Claim 2
20     Claim 3
       Claim 6
21
22         B.      Obviousness
23         1.      Did Defendants prove, by clear and convincing evidence, that any of the
24   following claims of the ’163 patent are obvious?
25
26          “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
27         Please check the boxes that reflect your verdict.
28

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1         Claim                                  Obviousness
2                                    YES                            NO
       Claim 1
3      Claim 2
4      Claim 3
       Claim 4
5      Claim 6
6      Claim 7
       Claim 15
7      Claim 16
8      Claim 19
9
10         3.     Have any of the following secondary considerations been established by
11   the evidence?
12         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
13
           Please check the boxes that reflect your finding.
14
15
16                                                    Secondary Consideration
                Secondary Consideration                     Established
17                                                      YES             NO
18     Prior art teaches away from combining
       elements in the claim
19     The claimed invention did not result
       mainly from design incentives or other
20     market forces
21     Copying of the claimed invention by
       others
22     Industry skepticism to the possibility of
       developing the claimed invention
23     Unexpected and superior results from the
24     claimed invention
       Acceptance by others of the claimed
25     invention as shown by praise from others
       in the field or from the licensing of the
26     claimed invention
       Unsuccessful attempts by others to find
27     the solution provided by the claimed
28     invention
       A long felt need for the solution provided
       by the claimed invention
                                                 34
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1      Commercial success of a product was
       due to the merits of the claimed
2      invention
3
4          Was there simultaneous development of the claimed invention by others before

5    or at about the same time as the named inventor thought of it?

6
7          “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.

8
9                NO _____ YES _____

10
11
12   VII. U.S. PATENT NO. 6,731,335 (“THE ’335 PATENT”)

13         A.    Obviousness
14         1.    Did Defendants prove, by clear and convincing evidence, that any of the
15   following claims of the ’335 patent are obvious?
16
17         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.

18         Please check the boxes that reflect your verdict.

19
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                                 #:20459



1         Claim                                 Obviousness
2                                   YES                             NO
       Claim 1
3      Claim 2
4      Claim 3
       Claim 4
5      Claim 5
6      Claim 6
       Claim 7
7      Claim 8
8      Claim 9
       Claim 10
9
       Claim 11
10     Claim 12
11
12
           4.     Have any of the following secondary considerations been established by
13
     the evidence?
14
15
           “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
16
17         Please check the boxes that reflect your finding.
18
19
20                                                   Secondary Consideration
                Secondary Consideration                    Established
21                                                     YES             NO
       Prior art teaches away from combining
22     elements in the claim
23     The claimed invention did not result
       mainly from design incentives or other
24     market forces
       Copying of the claimed invention by
25     others
       Industry skepticism to the possibility of
26     developing the claimed invention
27     Unexpected and superior results from the
       claimed invention
28     Acceptance by others of the claimed
       invention as shown by praise from others
                                               36
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1      in the field or from the licensing of the
       claimed invention
2      Unsuccessful attempts by others to find
3      the solution provided by the claimed
       invention
4      A long felt need for the solution provided
       by the claimed invention
5      Commercial success of a product was
6      due to the merits of the claimed
       invention
7
8          Was there simultaneous development of the claimed invention by others before
9    or at about the same time as the named inventor thought of it?
10
11         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
12
13                 NO _____ YES _____
14
15         B.      Written Description
16         1.      Did Defendants prove, by clear and convincing evidence, that any of the
17   following claims of the ’335 patent lack written description?
18
19         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.

20         Please check the boxes that reflect your verdict.

21
22         Claim                       Lacks Written Description
                                    YES                         NO
23     Claim 5
24     Claim 7
       Claim 9
25
26         C.      Enablement
27
           1.      Did Defendants prove, by clear and convincing evidence, that any of the
28
     following claims of the ’335 patent are not enabled?

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1
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
2
           Please check the boxes that reflect your verdict.
3
4
           Claim                             Lacks Enablement
5
                                    YES                             NO
6      Claim 5
7      Claim 7
       Claim 9
8
9          D.      Indefiniteness

10         2.      Did Defendants prove, by clear and convincing evidence, that any of the
11   following claims of the ’335 patent are indefinite?
12
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
13
           Please check the boxes that reflect your verdict.
14
15
           Claim                               Indefiniteness
16
                                    YES                             NO
17     Claim 1
18     Claim 3
       Claim 5
19     Claim 6
20     Claim 7
       Claim 8
21     Claim 9
22     Claim 10
       Claim 11
23     Claim 12
24
25
     VIII. U.S. PATENT NO. 8,149,312 (“THE ’312 PATENT”)
26
           A.      Anticipation
27
           1.      Did Defendants prove, by clear and convincing evidence, that any of the
28
     following claims of the ’312 patent are anticipated?
                                               38
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                                 #:20462



1
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
2
           Please check the boxes that reflect your verdict.
3
4
           Claim                                Anticipation
5
                                    YES                             NO
6      Claim 1
7      Claim 2
       Claim 6
8      Claim 7
9      Claim 9
       Claim 11
10     Claim 12
11     Claim 13
       Claim 14
12
13
           B.      Obviousness
14
           1.      Did Defendants prove, by clear and convincing evidence, that any of the
15
     following claims of the ’312 patent are obvious?
16
17         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
18         Please check the boxes that reflect your verdict.
19
20         Claim                                Obviousness
21                                  YES                             NO
       Claim 1
22     Claim 2
23     Claim 6
       Claim 7
24
       Claim 9
25     Claim 11
       Claim 12
26
       Claim 13
27     Claim 14
28

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1          5.     Have any of the following secondary considerations been established by
2    the evidence?
3
4
           “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
5
           Please check the boxes that reflect your finding.
6
7
8
                                                     Secondary Consideration
9               Secondary Consideration                    Established
                                                       YES             NO
10     Prior art teaches away from combining
11     elements in the claim
       The claimed invention did not result
12     mainly from design incentives or other
       market forces
13     Copying of the claimed invention by
14     others
       Industry skepticism to the possibility of
15     developing the claimed invention
       Unexpected and superior results from the
16     claimed invention
       Acceptance by others of the claimed
17     invention as shown by praise from others
18     in the field or from the licensing of the
       claimed invention
19     Unsuccessful attempts by others to find
       the solution provided by the claimed
20     invention
21     A long felt need for the solution provided
       by the claimed invention
22     Commercial success of a product was
       due to the merits of the claimed
23     invention
24
25         Was there simultaneous development of the claimed invention by others before

26   or at about the same time as the named inventor thought of it?

27
28         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.


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1                  NO _____ YES _____
2
3          C.      Written Description
4          1.      Did Defendants prove, by clear and convincing evidence, that any of the
5    following claims of the ’312 patent lack written description?
6
7          “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
8          Please check the boxes that reflect your verdict.
9
10         Claim                       Lacks Written Description
                                    YES                         NO
11     Claim 1
12     Claim 2
       Claim 6
13
       Claim 7
14     Claim 9
       Claim 11
15
       Claim 12
16     Claim 13
17     Claim 14

18
           D.      Enablement
19
           1.      Did Defendants prove, by clear and convincing evidence, that any of the
20
     following claims of the ’312 patent are not enabled?
21
22
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
23
           Please check the boxes that reflect your verdict.
24
25
26
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28

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1          Claim                             Lacks Enablement
2                                     YES                           NO
       Claim 1
3      Claim 2
4      Claim 6
       Claim 7
5      Claim 9
6      Claim 11
       Claim 12
7      Claim 13
8      Claim 14
9
           E.      Indefiniteness
10
11         2.      Did Defendants prove, by clear and convincing evidence, that claim 1 of

12   the ’312 patent is indefinite?

13
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
14
           Please check the boxes that reflect your verdict.
15
16
           Claim                               Indefiniteness
17                                    YES                           NO
18     Claim 1
19
20
     IX.   U.S. PATENT NO. 8,625,017 (“THE ’017 PATENT”)
21
22         A.      Anticipation

23         1.      Did Defendants prove, by clear and convincing evidence, that any of the
24   following claims of the ʼ017 patent are anticipated?
25
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
26
           Please check the boxes that reflect your verdict.
27
28

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1          Claim                                Anticipation
2                                   YES                             NO
       Claim 1
3      Claim 2
4      Claim 7
       Claim 8
5      Claim 12
6      Claim 13
       Claim 15
7      Claim 16
8
9          B.      Obviousness
10         1.      Did Defendants prove, by clear and convincing evidence, that any of the
11   following claims of the ʼ017 patent are obvious?
12
13         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.

14         Please check the boxes that reflect your verdict.

15
16         Claim                                Obviousness
                                    YES                             NO
17     Claim 1
18     Claim 2
       Claim 7
19     Claim 8
20     Claim 12
       Claim 13
21
       Claim 15
22     Claim 16
23
24
           6.      Have any of the following secondary considerations been established by
25
     the evidence?
26
27
28         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.


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1          Please check the boxes that reflect your finding.
2
3
4                                                    Secondary Consideration
              Secondary Consideration                      Established
5                                                      YES             NO
       Prior art teaches away from combining
6      elements in the claim
       The claimed invention did not result
7      mainly from design incentives or other
8      market forces
       Copying of the claimed invention by
9      others
       Industry skepticism to the possibility of
10     developing the claimed invention
11     Unexpected and superior results from the
       claimed invention
12     Acceptance by others of the claimed
       invention as shown by praise from others
13     in the field or from the licensing of the
14     claimed invention
       Unsuccessful attempts by others to find
15     the solution provided by the claimed
       invention
16     A long felt need for the solution provided
17     by the claimed invention
       Commercial success of a product was
18     due to the merits of the claimed
       invention
19
20         Was there simultaneous development of the claimed invention by others before
21   or at about the same time as the named inventor thought of it?
22
23         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
24
25               NO _____ YES _____
26
27
28

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1          C.      Written Description
2          1.      Did Defendants prove, by clear and convincing evidence, that any of the
3    following claims of the ’017 patent lack written description?
4
5          “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
6          Please check the boxes that reflect your verdict.
7
8          Claim                       Lacks Written Description
                                    YES                         NO
9      Claim 1
10     Claim 2
       Claim 7
11
       Claim 8
12     Claim 12
       Claim 13
13
       Claim 15
14     Claim 16
15
16         D.      Enablement

17         1.      Did Defendants prove, by clear and convincing evidence, that any of the
18   following claims of the ’017 patent are not enabled?
19
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
20
           Please check the boxes that reflect your verdict.
21
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                                 #:20469



1          Claim                             Lacks Enablement
2                                     YES                           NO
       Claim 1
3      Claim 2
4      Claim 7
       Claim 8
5      Claim 12
6      Claim 13
       Claim 15
7      Claim 16
8
9          E.      Indefiniteness
10         2.      Did Defendants prove, by clear and convincing evidence, that claim 1 of
11   the ’017 patent is indefinite?
12
13         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.

14         Please check the boxes that reflect your verdict.

15
16         Claim                               Indefiniteness
                                      YES                           NO
17     Claim 1
18
19
20   X.    U.S. PATENT NO. 9,728,574 (“THE ʼ574 PATENT”)
21         A.      Anticipation
22         1.      Did Defendants prove, by clear and convincing evidence, that any of the
23   following claims of the ’574 patent are anticipated?
24
25         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
26         Please check the boxes that reflect your verdict.
27
28

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1          Claim                                Anticipation
2                                   YES                             NO
       Claim 1
3      Claim 3
4      Claim 4
       Claim 6
5      Claim 9
6      Claim 10
       Claim 11
7      Claim 17
8      Claim 18
       Claim 19
9
       Claim 20
10     Claim 24
       Claim 30
11
       Claim 31
12
13         B.      Obviousness
14         1.      Did Defendants prove, by clear and convincing evidence, that any of the
15   following claims of the ’574 patent are obvious?
16
17         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
18         Please check the boxes that reflect your verdict.
19
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                                 #:20471



1         Claim                                 Obviousness
2                                   YES                             NO
       Claim 1
3      Claim 3
4      Claim 4
       Claim 6
5      Claim 9
6      Claim 10
       Claim 11
7      Claim 17
8      Claim 18
       Claim 19
9
       Claim 20
10     Claim 24
       Claim 30
11
       Claim 31
12
13
14         7.     Have any of the following secondary considerations been established by

15   the evidence?

16
17         “YES” is a finding for Plaintiffs. “NO” is a finding for Defendants.
18
           Please check the boxes that reflect your finding.
19
20
21                                                   Secondary Consideration
22              Secondary Consideration                    Established
                                                       YES             NO
23     Prior art teaches away from combining
       elements in the claim
24     The claimed invention did not result
       mainly from design incentives or other
25     market forces
26     Copying of the claimed invention by
       others
27     Industry skepticism to the possibility of
       developing the claimed invention
28     Unexpected and superior results from the
       claimed invention
                                                48
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1      Acceptance by others of the claimed
       invention as shown by praise from others
2      in the field or from the licensing of the
3      claimed invention
       Unsuccessful attempts by others to find
4      the solution provided by the claimed
       invention
5      A long felt need for the solution provided
6      by the claimed invention
       Commercial success of a product was
7      due to the merits of the claimed
       invention
8
9          Was there simultaneous development of the claimed invention by others before
10   or at about the same time as the named inventor thought of it?
11
12         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
13
14               NO _____ YES _____
15
16         C.    Written Description
17         1.    Did Defendants prove, by clear and convincing evidence, that any of the
18   following claims of the ’574 patent lack written description?
19
20         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
21         Please check the boxes that reflect your verdict.
22
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                                 #:20473



1          Claim                       Lacks Written Description
2                                   YES                         NO
       Claim 1
3      Claim 3
4      Claim 4
       Claim 6
5      Claim 9
6      Claim 10
       Claim 11
7      Claim 17
8      Claim 18
       Claim 19
9
       Claim 20
10     Claim 24
       Claim 30
11
       Claim 31
12
13
14         D.      Enablement
15         1.      Did Defendants prove, by clear and convincing evidence, that any of the
16   following claims of the ’574 patent are not enabled?
17
18         “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
19         Please check the boxes that reflect your verdict.
20
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                                 #:20474



1        Claim                         Lacks Enablement
2                              YES                          NO
      Claim 1
3     Claim 3
4     Claim 4
      Claim 6
5     Claim 9
6     Claim 10
      Claim 11
7     Claim 17
8     Claim 18
      Claim 19
9
      Claim 20
10    Claim 24
      Claim 30
11
      Claim 31
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                                 #:20475



1                                FINDINGS ON MARKING
2          1.    Did Plaintiffs prove by a preponderance of the evidence that the devices
3    below do NOT embody any claim of the ’163 Patent?
4
5
           “YES” on all of the devices below is a finding for Plaintiffs. “NO” on any of
6
7    the devices below is a finding for Defendants.
8
           Please check the boxes that reflect your finding
9
10
11              Device
                                            YES                       NO
12     HP ENVY 15 Notebook
13     PC
       HP ENVY 17 Notebook
14     PC
       HP ENVY x360 15
15     Notebook PC
16     HP OMEN 15t
       Notebook PC
17     HP OMEN 17t
       Notebook PC
18     HP Spectre x2
19     Notebook PC
       HP Spectre x360
20     Notebook PC
       HP EliteBook x360
21     1020 Notebook PC
22     HP EliteBook x360
       1030 Notebook PC
23     HP EliteBook Folio G1
       Notebook PC
24     HP Elite x2 1012 G2
       Notebook PC
25
       HP EliteBook 700
26     Series G5 Notebook
       PCs
27     HP ZBOOK 15v
       Notebook PCs
28     HP ProBook 645 G3
       Notebook PC
                                              52
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1             Device
      HP ProBook 655 G3
2     Notebook PC
3     HP EliteBook 725 G4
      Notebook PC
4     HP EliteBook 755 G4
      HP ProBook
5     HP Photosmart R725
6     camera
      HP Photosmart R727
7     camera
      HP Photosmart R827
8     camera
9     HP Photosmart R927
      camera
10    HP Photosmart R967
      camera
11    HP Photosmart R827
      camera
12
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1                                    FINDINGS ON LICENSE
2
           1.      Did Defendants prove by a preponderance of the evidence that the Sony-
3
     branded image sensors incorporated into Defendants’ cameras are NOT manufactured
4
     or produced from designs received in a substantially completed form from
5
     Defendants?
6
7
           “NO” is a finding for Plaintiffs. “YES” is a finding for Defendants.
8
9          Please check the boxes that reflect your finding:
10
           NO _____ YES _____
11
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1                                FINDINGS ON DAMAGES
2          If you find that at least one of the claims of the ’163, ʼ335, ʼ312, ʼ017, or ʼ574
3    patent is infringed by either Defendant (i.e., if you answered both “YES” to any
4    part of the infringement questions in Sections I, II, III, IV, or V in the FINDINGS
5    ON INFRINGEMENT section), and if you also find that any such infringed claim is
6    also valid (i.e., you answered “NO” to the invalidity questions in Sections VI, VII,
7    VIII, IX, or X of the FINDINGS ON INVALIDITY DEFENSES for any infringed
8    claim), then proceed to answer the remaining questions.
9
10         1.    What amount of damages, if any, do you award to Plaintiffs for the
11   infringement by Defendants of the ’163 patent:
12
13               Do NOT indicate any damages amount unless you found above that
14               Defendants infringed at least one claim of the ’163 patent.
15
16               If you answered “NO” to any of the devices listed in Question 1 in the
17               FINDINGS ON MARKING section, you must NOT include any
18               damages for infringement of the ’163 Patent occurring before the date
19               this lawsuit was filed, September 26, 2017.
20
21
22               ’163 patent:        $ _________________
23
24
25         2.    What amount of damages, if any, do you award to Plaintiffs for the
26   infringement by Defendants of the ’335 patent:
27
28

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1                Do NOT indicate any damages amount unless you found above that
2                Defendants infringed at least one claim of the ’335 patent.
3
                 If you answered “YES” to Question 1 in the FINDINGS ON LICENSE
4
                 section, you must NOT include any damages for infringement of the
5
                 ’335 Patent with respect to accused cameras that incorporate Sony-
6
                 branded image sensors.
7
8
9
                 ’335 patent:       $ _________________
10
11
12
           3.    What amount of damages, if any, do you award to Plaintiffs for the
13
     infringement by Defendants of the ’312 patent:
14
15
16               Do NOT indicate any damages amount unless you found above that
17               Defendants infringed at least one claim of the ’312 patent.
18
19
20               ’312 patent:       $ _________________
21
22
23         4.    What amount of damages, if any, do you award to Plaintiffs for the
24   infringement by Defendants of the ’017 patent:
25
26
27
28

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1                Do NOT indicate any damages amount unless you found above that
2                Defendants infringed at least one claim of the ’017 patent.
3
4
5                ’017 patent:       $ _________________
6
7
8          5.    What amount of damages, if any, do you award to Plaintiffs for the
9    infringement by Defendants of the ’574 patent:
10
11               Do NOT indicate any damages amount unless you found above that
12               Defendants infringed at least one claim of the ’574 patent.
13
14               ’574 patent:       $ _________________
15
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                                 #:20481



1                      FINDINGS ON WILLFUL INFRINGEMENT
2
3          1. Did Plaintiffs prove by a preponderance of the evidence that Defendants
4    willfully infringed the ʼ163 patent?
5
6                       Do NOT answer this question unless you found above in Section I
7                       of the FINDINGS ON INFRINGEMENT section that Defendants
                        infringed at least one claim of the ’163 patent.
8
9          Yes _____ No _____
10
11         2. Did Plaintiffs prove by a preponderance of the evidence that Defendants
12   willfully infringed the ʼ335 patent?
13
14                      Do NOT answer this question unless you found above in Section
                        II of the FINDINGS ON INFRINGEMENT section that
15                      Defendants infringed at least one claim of the ’335 patent.
16
           Yes _____ No _____
17
18
           3. Did Plaintiffs prove by a preponderance of the evidence that Defendants
19
     willfully infringed the ʼ312 patent?
20
21                      Do NOT answer this question unless you found above in Section
22                      III of the FINDINGS ON INFRINGEMENT section that
                        Defendants infringed at least one claim of the ’312 patent.
23
24         Yes _____ No _____
25
26         4. Did Plaintiffs prove by a preponderance of the evidence that Defendants
27   willfully infringed the ʼ017 patent?
28

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1                       Do NOT answer this question unless you found above in Section
                        IV of the FINDINGS ON INFRINGEMENT section that
2
                        Defendants infringed at least one claim of the ’017 patent.
3
           Yes _____ No _____
4
5
6
           5. Did Plaintiffs prove by a preponderance of the evidence that Defendants
7
     willfully infringed the ʼ574 patent?
8
9
                        Do NOT answer this question unless you found above in Section
10
                        V of the FINDINGS ON INFRINGEMENT section that
11
                        Defendants infringed at least one claim of the ’574 patent.
12
13
           Yes _____ No _____
14
15
16
           You have now reached the end of the verdict form and should review it to
17
     ensure it accurately reflects your unanimous determinations. The Presiding Juror
18
     should then sign and date the verdict form in the spaces below and notify the court
19
     personnel that you have reached a verdict.       The Presiding Juror should retain
20
     possession of the verdict form and bring it when the jury is brought back into the
21
     courtroom.
22
23
     DATED: ____________, 2018              By: ______________________________
24
                                                        Presiding Juror
25
26
27
28

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                                 #:20483



1    Dated: October 30, 2018   MORRISON & FOERSTER LLP
2
3
4                              By: /s/ Vincent J. Belusko

5                                  Vincent J. Belusko
6                                  VBelusko@mofo.com
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